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                                                                              No. 17-612C
                                                                                                                                  FILED
                                                                         (Filed: May 26,2017)                                   MAY 2 6 2017
                                                                       NOT FOR PUBLICATION
                                                                                                                               U.S. COURT OF
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MARGARET KATHLEEN NICKERSON- *
MALPHER,                     *                                                                        Sua Sponte Dismissal; Subject Matter
                             *                                                                        Jurisdiction; RCFC 12(h)(3); Claims
         Plaintiff,                                                                                   Against State Offrcials and Agencies;
                                                                                                      Claims Against Private Parties; Civil
                                                                                                      Rights Claims; Tort Claims; RICO Claims;
                                                                                                      Constitutional Claims; Collateral Attack of
THE LINITED STATES,                                                                                   Prior Decisions; Pro Se Plaintiff; In Forma
                                                                                               *      Pauoeris
                            Defendant.                                                         *
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                                                                        OPINIONAND ORDER

         In this case, plaintiff Margaret Kathleen Nickerson-Malpher, proceeding p1q_!9, alleges a
taking without just compensation in violation of the Fifth Amendment to the United States
Constitution based on a seizure of animals from her property, pursuant to federal civil asset
forfeiture and state animal cruelty statutes. Plaintiffalso alleges fraud, racketeering, conspiracy,
prosecutorial andjudicial misconduct, failure of federal and state officials to protect her
constitutional rights, and violations ofthe First, Fourth, Fifth, and Sixth Amendments to the
United States Constitution. Plaintiff seeks compensatory damages, lost profits, compensation for
mental anguish, punitive damages, and attomey's fees and court costs. Plaintiff atso filed an
application to proceed in forma pauperis. As explained below, the court lacks jurisdiction to
consider plaintiffs claims. Thus, without awaiting a response from defendant, the court grants
plaintiff s application to proceed in forma pauperis and dismisses plaintiffs complaint.

                                                                            I.   BACKGROUND

        During a one-year period surrounding 2006, the Maine Animal Welfare Program, under
the guidance of then-Director Norma Jean Worley and with the approval of then-Govemor John
Baldacci, confiscated over 600 animals statewide pursuant to state animal cruelty statutes.r
Compl. fl 4; see. e.e., Me. Rev. Stat. Ann. tit. 17, $ 1034 (2005) (allowing law enforcement or

               I
         The court derives the facts in this section from the allegations set forth in plaintiffs
complaint, which are treated as true at this stage of the litigation. See Trusted Integration. Inc. v.
United States,659 F.3d 1159, 1163 (Fed. Cir. 201l). More detail conceming the factual
background is provided in Nickerson-Malpher v. Worley, 560 F. Supp. 2d 75, 78-81 (D. Me.
2008).




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humane officers to seize animals based on a probable cause finding that animal cruelty statutes
have been violated). Twenty animals were seized from plahtifl including nineteen purebred
dogs registered with the American Kennel Club ('AKC). Compl. fl 7. Plaintiff describes the
loss-not only to herselfbut also to veterinarians, researchers, Dog Fancy the Dog Breeders of
America, the Poodle Breeders of America, other dog owners, and the general public----of such
"nice, quality dogs" as "great indeed." Id. Plaintiff alleges that during her subsequent civil trial
during October 2006 in state district court in Calais, Maine, thejudge, prosecutor, and defense
attomey engaged in fraud through a series of misrepresentations and perjury.2 td. fl 3. On appeal
to the Supreme Judicial Court of Maine, plaintiff was unsuccessful in arguing that the animal
cruelty statutes are void for vagueness. Id. !T 10.

        Following her trial, plaintiff petitioned the Maine Attomey General to conduct an
investigation into (1) the alleged "fraud" that took place at her trial and (2) the widespread
"questionable" animal confiscations by the Maine Animal Welfare Program. Id. ,1T 4. The office
of the Maine Attomey General declined to open an investigation.     !!      Govemor Baldacci was
asked to remove Director Worley from her post, but he refused to do so, resulting in "many"
would-be tourists boycotting Maine. Id. Despite the alleged boycott, Govemor Baldacci did not
pursue an investigation. Id. Plaintiff then $Tote to the White House seeking assistance, but did
not receive a response. Id. 'lf 6. Over the ensuing ten years, plaintiff filed multiple federal
lawsuits regarding the situation, all of which have been dismissed.3 Id. lTfl 2, 11(a); see. e.g.,
Nickerson-Malpher v. United States, No. 15-cv-676 (D.D.C. filed May 1,2015); Nickerson-
Malpher v. United States, No. 12-cv-677 (D.D.C. filed Apr. 30, 2012); Nickerson-Malpher v.
Alexander, No. 11-cv-3247 (D. Md. filed Nov. 14,2011); Nickerson-Malpher v. Maine, No. 10-
cv-329 (D. Me. filed Aug. 8, 2010); Nickerson-Malpher v. Wells Fareo Bank, No. 10-cv-1 1033
(D. Mass. filed June 10, 2010); Nickerson-Malpher v. Baldacci, No. 07-cv-136 (D. Me. filed
Sept. 10, 2007). The instant action was filed on May 5,2077.

         Plaintiff avers that Director Worley was ill-suited for her position with the Maine Animal
Welfare Program, and characterizes Govemor Baldacci's refusal to dismiss Director Worlev
lrom her post as condoning illegal deprivation of property and demonstrating evidence of
racketeering. Compl. flfl 4-5. Plaintiff also accuses various individuals and organizations
(including the AKC, Dog Breeders of America, animal owners, state govemment offrcials, and
the federal government generally) ofbeing complicit in the supposed improper taking of animals
by failing to investigate and./or intervene, emphasizing that it is "cruel" to apply federal civil
asset forfeiture laws to animals because animals are not inanimate objects and doing so ignores
the "great bond between animal[s] and human[s]." Id.flfl 7-9. See generallv Civil Asset

         2 The court recognizes the inaccuracy of referring to a prosecutor
                                                                              in a civil trial.
However, a later federal court decision lists a 2006 civil forfeiture case in Calais district coun
(CALDC-CV-2006-0046), a 2008 criminal case in Calais district court (CAI,DC-CR-2008369),
and a 2008 criminal case in Machias superior court (MACSC-CR-2008202). See Nickerson-
Malpher v. Aft'y Gen. of Me., Civ. No. l0-329-B-H, 2010 WL 3499657 , at * I (D. Me. Aug. 30,
2010) (unpublished order). Because the specific details ofthose cases are irrelevant to resolution
of the instant case, the court uses the same terminology employed by plaintiff in her complaint.
       3 Plaintiff does not allege that she
                                            filed any state lawsuits based on these same facts.


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Forfeiture Reform Act of2000. Pub. L. No. 106-185. 114Stat.202. Plaintiff contends that the
allegedjudicial and prosecutorial misconduct (including being denied ajury in her Calais district
court trial) amounted to fraud, deprived her ofdue process, and violated her First, Fourth, Fifth,
and Sixth Amendment rights.a'5 Compl. tf 1 1(c). The court construes the jury denial contention
as an alleged Seventh Amendment violation.


        Taken together,  plaintiff asserts, this pattem ofconduct is evidence of fraud, conspiracy,
and racketeering. Id. ll I I (d), (g). For example, plaintiff remarks that there was no reason for
the AKC to attempt to intervene in her original trial by writing to the court unless they were
engaged in some sort of conspiracy, id. fl 11(f), and notes that "tenorist organizations" like
People for the Ethical Treatment of Animals and the Humane Society of the United States
improperly involve themselves in animal cases and picket dog shows, id. fl 1l(d)-(e).
Accordingly, plaintiff seeks a court order directing the Federal Bureau oflnvestigation to probe
the allegations that federal and state organizations have colluded "to 'legally' steal . . . ordinary
citizens' property," id. !J 11(g), as well as $25 million in compensation plus attomey's fees, costs,
compensation for mental anguish, and punitive damages, id. at 8.

                                    II. LEGALSTANDARDS
                                        A. Pro Se Plaintiffs
        Pro se pleadings are "held to less stringent standards than formal pleadings drafted by
lawyers" and are "to be liberally construed." Erickson v. Pardus, 551 U.S. 89,94 (2007) ftter
curiam) (intemal quotation marks omitted). However, the "leniency afforded to a oro se litigant
with respect to mere formalities does not relieve the burden to meet jurisdictional requirements."
Minehan v. United States, 75 Fed. Cl.249,253 (2007); accord Henke v. United States, 60 F.3d
795,799 (Fed. Cir. 1995) ("The fact that [the plaintiffl acted p1q_g9 in the drafting of his
complaint may explain its ambiguities, but it does not excuse its failures, if such there be."). In
other words, a oro se plaintiffis not excused from its burden ofproving, by a preponderance of
evidence, that the court possesses jurisdiction. See McNutt v. Gen. Motors Acceptance Com.,


         4 Without providing details, plaintiffalso asserts
                                                            that she was denied a.,speedy,, trial in
Machias. Compl. fl 11(c). Since the Machias trial was apparently a 2008 criminal case in
superior court, ggg suDra note 2, the court construes the assertion conceming lack ofa speedy
trial as an alleged Sixth Amendment violation.
          5 Pursuant to Rule 201 of the Federal
                                                 Rules ofEvidence, the court takesjudicial notice of
 the following facts conceming the Maine state judicial system: (1) both Machias and calais are
 located in Washington County, (2) the superior court for Washington County is located in
 Machias, (3) there is no superior court located in Calais, (4) there are district courts located in
 both Calais and Machias, (5) superior court is a trial court of general jurisdiction in Maine and is
 the only court in Maine where jury trials are available, and (6) both superior and district courts
 hear civil and criminal cases. See Maine Courts, Me. Judicial Branch,
 http:i/www.courts.maine.gov/maine_courts/index.shtml (last visitedMay 26,2017). Thus, no
jury trial was available in the Calais district court.


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298 U.S. 178, 179 (1936); Banks v. United States, T4l F.3d 1268, 1277 (Fed. Cir. 2014) (citing
Reynolds v. Army & Air Force Exch. Serv.,846F.2d746,748 (Fed. Cir. 1988)).

                                  B. Subject Matter Jurisdiction
         Whether the court possesses jurisdiction to decide the merits ofa case is a "threshold
 matter." Steel Co. v. Citizens for a BetterEnv't,523 U.S.83,94-95 (1998). Subject matter
jurisdiction cannot be waived or forfeited because it "involves a court's power to hear a case."
United States v. Cotton, 535 U.S. 625, 630 (2002), quoted in Arbaueh v. Y & H Com., 546 U.S.
 500,514(2006). "Without jurisdiction the court cannot proceed at all in any cause. Jurisdiction
is power to declare the law, and when it ceases to exist, the only function remaining to the court
is that of announcing the fact and dismissing the cause." Ex parte McCardle, 74 U.S. (7 Wall)
 506, 514 (1868). Therefore, it is "an inJlexible matter that must be considered before proceeding
to evaluate the merits of a case." Matthews v. United States,72Fed. c|.274,279 (2006); accord
K-Con Bldg. Sys.. Inc. v. United States,778F.3d,1000, 1004-05 (Fed. Cir.2015). Either party,
or the court sua sponte, may challenge the court's subject matter jurisdiction at any time.
Arbaueh, 546 U.S. at 506.

        Whether the court possesses subject matterjurisdiction has not been raised by the parties,
but the court must nevertheless examine all pertinent issues relevant to subject matter jurisdiction
because "[c]ourts have an independent obligation to determine whether subject-matter
jurisdictionexists,evenwhennopartychallengesit.,'HertzCorp.v.Friend,55gtJ.S.77,94
 (2010); accord Gonzalez v. Thaler, 132 S. Ct. 641,659 (2012) (,,When a requirement goes to
 subject-matter jurisdiction, courts are obligated to consider sua sponte issues that the parties have
disclaimed or have not presented."). In other words, a court may examine the issue oi subject
matter jurisdiction "on its own initiative" at any point in a case. Arbaush, 546 u.s. at 506; see
also Jeun v. United States, 128 Fed. Cl.203,209-10 (2016) (collecting cases).

        In determining whether subject matter jurisdiction exists, the court "must accept as true
all undisputed facts asserted in the plaintilfs complaint and draw all reasonable inferences in
favor ofthe plaintiff." Trusted Inteeration, 659 F.3d at ll63. Ifthe court finds that it lacks
subject matter jurisdiction over a claim, Rule 12(hX3) ofthe Rules ofthe United States Court of
Federal Claims C'RCFC) requires the court to dismiss that claim.

                                          C. Tucker Act
         The ability of the United States court of Federal claims ("court of Federal claims,,) to
entertain suits against the United States is limited. "The united states, as sovereign, is immune
from suit save as it consents to be sued." united states v. sherwood, 3l2 u.s. 5sa, 5s6 (1941).
The waiver of immunity "may not be infened, but must be unequivocally expressed." United
States v. White Mountain Apache Tribe, 537 U.S. 465,472 (2003). Further, ,,[w]hen waiver
legislation contains a statute of limitations, the limitations provision constitutei a condition on
the waiver of sovereign immunity." Block v. North Dakota ex rel. Bd. of Univ. & Sch. Lands,
46i U.S. 273,287 (1983).




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        The Tucker Act, the principal statute goveming the jurisdiction of this court, waives
sovereign immunity for claims against the United States, not sounding in tort, that are founded
upon the United States Constitution, a federal statute or regulation, or an express or implied
contract with the United States. 28 U.S.C. $ 1a91(a)(1) (2012); White Mountain, 537 U.S. at
472. However, the Tucker Act is merely ajurisdictional statute and "does not create any
substantive right enforceable against the United States for money damages." United States v.
Testan,424 U.S. 392, 298 (1976). Instead, the substantive right must appear in another source     of
law, such as a "money-mandating constitutional provision, statute or regulation that has been
violated, or an express or implied contract with the United States." Loveladies Harbor. Inc. v.
United States, 27 F.3d 1545, 1554 (Fed. Cir. 1994) (en banc).

                                    D. Statute of Limitations

         Besides meeting the Tucker Act requirements, any action in the Court of Federal Claims
 must be "filed within six years after such claim first accrues" to fall within the court's
jurisdiction. 28 U.S.C. $ 2501. A cause ofaction accrues "when all the events which fix the
 govemment's alleged liability have occurred 446! the plaintiff was or should have been aware of
their existence." Hopland Band of Pomo Indians v. United States, 855 F.2d 1573, 1577 (Fed.
 Cir. 1988), quele(Lin San Carlos Apache Tribe v. United States, 639 F.3d 1346,1350 (Fed. Cir.
 2011). The limitations period set forth in 28 U.S.C. $ 2501 is an "absolute" limit on the ability
 of the Court of Federal Claims to exercise jurisdiction and reach the merits of a claim. John R.
 Sand & Gravel Co. v. United States, 552 U.S. 130, 133-35 (2008).

                                       III.   DISCUSSION

         The court construes plaintiffs complaint as alleging a taking without just compensation
in violation of the Fifth Amendment to the United States Constitution by state officials, various
civil rights violations by state and federal officials, various torts involving federal and state
officials and organizations, a racketeering claim, and challenges to prior state and federal court
decisions. Without inquiring into whether plaintiff s claims are baned by claim and/or issue
preclusion based on prior federal court decisions, it is clear that the Court ofFederal Claims
lacks jurisdiction over plaintiffs claims. Consequently, plaintiff s complaint must be dismissed.

    A.   The United States Is the Only Proper Defendant in the Court of Federal Claims

         Although the court has construed the complaint in the light most favorable to plaintiff,
the crux of the allegations contained therein are lodged against (1) former individual Maine state
officials and agencies, i.e., Director Worley and unnamed Maine Animal Welfare Program
employees, Govemor Baldacci, the Maine Attomey General, and the Maine State Legislature;6
(2) variousjudges, attomeys, and witnesses involved in plaintiffs state and federal trials and
appeals; and (3) certain private entities. However, in the Court of Federal Claims, "the only
proper defendant . . . is the United States, not its ofhcers, nor any other individual." Stephenson
v. United States, 58 Fed. Cl. 186, 190 (2003); accord RCFC 10(a). Because "the United States

        o Although not specifically named, plaintiffs allegations contain an implied grievance
against the Maine State Legislature for enacting certain laws. See Compl. fl 10.
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itself  is the only proper defendant in the Court of Federal Claims, this court lacks jurisdiction
 "over  any  claims alleged against states, localities, state and local govemment entities, or state
 and local govemment officials and employees." Anderson v. United States, I l7 Fed. Cl. 330,
 331 (2014). In other words, "if the relief sought [in the Corxl ofFederal Claims] is against other
 than the United States, thc suit as to them must be ignored as beyond the jurisdiction of the
 court." Sherwood,312 U.S. at 584. Accordingly, to the extent that plaintiff complains of
 improper conduct by parties other than the United States federal govemment, this court lacks
jurisdiction over those claims, and they must be dismissed.

B. The Court of Federal Claims Lacks Jurisdiction Over PlaintifPs Civil Rights, Tort, and
                                       Racketeering Claims

       To the extent that plaintiff asserts civil rights violations, commissions ofvarious torts,
and racketeering, plaintiffs claims are outside the reach ofthis court's Tucker Act jurisdiction.

        First, the Court of Federal Claims is not a federal district court. Ledlord v. United States,
297 F .3d 1378, 1382 (Fed. Cir. 2002); see also Lishtfoot v. Cendant Morte. Corp., 137 S. Ct.
553, 563 (2017) (distinguishing befween the "Court of Federal Claims" and "federal district
courts").

        Second, only federal district courts possess jurisdiction to entertain claims alleging civil
rights violations. See. e.g., Jones v. United States, 104 Fed. C\.92,98 (2012) (explaining that
the Court ofFederal Claims has nojurisdiction over claims based on, among other causes of
action, alleged "violations of. . . civil .ights"); Marlin v. United States, 63 Fed. Cl. 475, 476
(2005) (explaining that Bivens claims and claims alleging violations of 42 U.S.C. $$ 1981, 1983,
1985 must be heard in federal district courts).

        Third,thiscourtlacksjurisdictiontoentertainclaimssoundingintort.28U.S.C.
$ i491(a); Rick's Mushroom Serv.. Inc. v. Unired Stares,521 F.3d 1338, 1343 (Fed. Cir.2008).
Under the Federal Tort Claims Act, 28 U.S.C. gg 1346(bX1), 2671-2680, jurisdiction over ron
claims against the federal govemment lies exclusively in federal district courts. U.S. Marine,
Inc. v. United States,722F.3d 1360, 1365-66 (Fed. Cir.2013). Claims of fraud, conspiracy,
harassment, breach of fiduciary duty, and negligence sound in tort.7 See. e.g.. Lawrence Battelle.
Inc. v. United States, 117 Fed. Cl. 579, 585 (2014) (fraud and negligence); Sellers v. United
States, 110 Fed. Cl. 62, 68 (2013) (negligence); Cox v. United States, 105 Fed. C\.213,218
(2012) (harassment, fraud, and breach offiduciary duty); Phane v. United States, 87 Fed. Cl.
321,325 (2009) (fraud); Gant v. United Srates, 63 Fed. Ci. 31 1, 316 (2004) (conspiracy, fraud,
and negligence).

        Finally, this court lacks jurisdiction to entertain claims involving racketeering.
Jurisdiction over civil actions brought under the Racketeer Influenced and Comrpt Organizations
Act ("RICO"), 18 U.S.C. $g 1961-1968, is vested exclusively in the federal district courts.

      7 Although plaintiff only expressly
                                           alleges fraud, conspiracy, and racketeering, the
complaint can be construed to also include allegations ofharassment, breach offiduciary duty,
and negligence.



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Stanwyck v. United States , 127 Fed,. Cl. 308, 3 I 5 (2016) (citing l8 U.S.C. g 196a(c) (2012)). Irr
any event, RICO claims cannot be brought against govemment entities. Id. at 316.

 C. The Court of Federal Claims Lacks Jurisdiction Over Plaintiff s Other Constitutional
                                               Claims

         Plaintiffalso asserts violations ofthe First. Fourth. Fifth. Sixth" and Seventh
Amendments. However, other than the Takings Clause of the Fifth Amendment, these
amendments are not money-mandating. Jiron v. United States, 118 Fed. Cl. 190, 199-200
(2014); Jefferson v. United States, 104 Fed. Cl. 81,90 (2012); Hemandez v. United States,93
Fed. Cl. 192, 198 (2010). Therefore, the Court ofFederal Claims lacks jurisdiction to entertain
plaintiff s First, Fourth, Sixth, and Seventh Amendment claims, as well as plaintiff s Fifth
Amendment claim to the extent that it concems the Due Process Clause.8 See. e.g., Smith v.
United States, 36 F. App'x 444, 446 (Fed. Cir. 2002) (unpublished decision) (Sixth
Amendment); Brown v. United States, 105 F.3d 621,623 (Fed. Cir. 1997) (Founh Amendment);
Jaffer v. United States, No. 95-5127, 1995 WL 592017 (Fed. Cir. Oct. 6, 1995) (unpublished
decision) (Seventh Amendment); Leblanc v. United States, 50 F.3d 1025,1028 (Fed. Cir. 1995)
(Due Process Clause of the Fifth Amendment); United States v. Connoll)',716 F.2d,882, 887
(Fed. Cir. 1983) (en banc) (First Amendment).

D. The Court of Federal Claims Cannot Entertain Ptaintiff s Collateral Attack Against the
                                    Decisions of Other Courts

        In addition to alleging a takings claim against state govemment officials and civil rights
and torts claims against myriad actors, plaintiff appears to attempt a collateral attack on the
decisions of Maine state courts and various federal district courts. However, the Tucker Act
does not provide the Court ofFederal Claims with jurisdiction to entertain collateral attacks on
decisions of state courts or federal district courts. 28 U.S.C. $ 1491(a); see. e.g., Shinnecock
Indian Nation v. United States,782F.3d 1345,1352 (Fed. Cir. 2015) (..Binding precedent
establishes that the Court of Federal Claims has no jurisdiction to review the merits of a decision
rendered by a federal district court."); vereda. Ltda. v. united States ,271 F .3d 1367, 1375 (Fed.
Cir. 2001) ("[T]he Court ofFederal Claims cannot entertain a taking claim that requires the court
to scrutinize the actions of another tribunal." (intemal quotation marks omitted)); Lord Noble
Kato Bakari El v. united states , 127 Fed. cl. 700, 704 (2016) ("[The court of Federal claims]
lacks jurisdiction to review the decisions of state courts."); Beadles v. United States, 115 Fed. cl.
242,246 (2014) ("Plaintiffs claim is a collateral attack on his criminal conviction. and lthe
Court ofFederal Claimsl lacks jurisdiction to hear it.").

        Plaintiffls recourse conceming prior adverse decisions is ,,the statutorily defined
appellate process," Shirurecock Indian Nation ,782 F .3d at 1353 (citing 28 U.S.C. 6 1291),
whether in state or federal court. Accord Nickerson-Malpher, 560 F. Supp. 2d. at16

         6 To the extent that plaintiff
                                        s Fifth Amendment claim concems the Takings clause, the
court lacks j urisdiction to entertain such claim because it is asserted against state officials and
entities rather than the federal govemment. See supra Part III.A. Moreover, such a claim would
be time-baned. See infra Part III.E.
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("[PlaintifFs] remedy for any discontent she has with this decision is to appeal 1o the United
States Court of Appeals for the First Circuit."). This court cannot entertain collateral attacks on
prior decisions of state or federal courts.

                              E. Plaintiffs Claims Are Time-Barred

         Even if this court otherwise had jurisdiction to entertain any of plaintiffs claims, they are
barred by the six-year statute of limitations generally applicable in the Court of Federal Claims.
See 28 U.S.C. $ 2501. With the exception of her federal lawsuits, plaintiff complains generally
of acts that transpired during or prior to 2006. For instance, the alleged judicial misconduct that
plaintiff describes as having taken place in Calais district court following the seizure ofher
animals "occurred [in] October 2006." Compl. tf 3. Therefore, by October 2006, ifnot sooner,
plaintiff was or should have been fully aware of all events giving rise to the claims that are
currently before this court, and thus the six-year statute of limitations imposed by 28 U.S.C.
$ 2501 expired in October 2012. Because plaintiff did not file her complaint until May 5,2017,
this court lacks jurisdiction to entertain plaintiffs claims. Further, to the extent that plaintiff is
alleging judicial misconduct in litigation subsequent to the October 2006 trial (including, for
example, during her 2008 criminal trials), plaintiff was aware of such conduct more than six
years prior to filing her complaint.e See. e.g., Nickerson-Malpher, No. 10-cv-329 (D. Me. Sept.
16, 2010) (unpublished order dismissing case); Nickerson-Malpher, 560 F. Supp. 2d, at76-77.

        IV. PLAINTIFF'S APPLICATION TO PROCEED IN F'ORMA                           PAUPERIS

        As noted above, plaintiff filed, concunent with the complaint, an application to proceed
in forma pauperis. Pursuant to 28 U.S.C. $ 1915, federal courts are permitted to waive filing fees
and security under certain circumstances.r0 See 28 U.S.C. $ 1915(aX1); see also Waltner v.
United States,93 Fed. Cl. 139,141n.2 (2010) (concluding that 28 U.S.C. $ 1915(a)(1) applies to
both prisoners and non-prisoners alike). Plaintiffs wishing to proceed in forma pauperis must
submit an affidavit that (1) lists all of their assets, (2) declares that they are unable to pay the fees
or give the security, and (3) states the nature ofthe action and their beliefthat they are entitled to
redress. 28 U.S.C. $ 1915(a\1). Determination of ability to pay is "left to the discretion of the
presiding judge, based on the information submitted by the plaintiff." Alston-Bullock v. United
States, 122 Fed. Cl. 38, 45 (2015). Here, plaintiff has fulfilled all three requirements, and the
court is satisfied that plaintiffis unable to pay the filing fee otherwise required by RCFC 77.1(c).
Therefore, the court grants plaintiff s application and waives her filing fee.

         e Allowing plaintiff to amend her complaint, thus affording her an opportunity to allege
more recent judicial misconduct, would be futile because, as explained above, (1) such claims
are beyond the jurisdiction of this court, and (2) the proper redress for adverse judicial rulings is
to file direct appeals of those rulings.
         r0 While the Court of Federal Claims is not generally considered to be a "court of the
 United States" within the meaning of Title 28 of the United States Code, the court has
jurisdiction to grant or deny applications to proceed in forma pauperis. See 28 U.S.C. $ 2503(d)
 (deeming the Court of Federal Claims to be a "court ofthe United States" for purposes of28
 u.s.c. $ 191s).

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                                        V. CONCLUSION
       Plaintiffs claims   are outside the jurisdiction of this court because they are directed
against parties other than the United States; allege civil rights, constitutional, and RICO
violations; sound in tort; and/or attempt to collaterally attack decisions of other courts. Further,
plaintiffs claims are time-barred by the six-year statute of limitations generally applicable in the
Court of Federal Claims.

        Therefore, plaintiffs complaint is DISMISSED for lack ofjurisdiction. Plaintiffs
application to proceed in forma pauperis is GRANTED. No costs. The clerk is directed to enter
judgment accordingly.

       IT IS SO ORDERED.




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